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                 UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                            CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                  Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                  Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

DEBTOR: Liz Ramirez                                JOINT DEBTOR:                            CASE NO.:          12-23051 AJC
Last Four Digits of SS# 3704                       Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee’s fee of 10% and beginning 30 days from filing/conversion date,
Debtor(s) to pay to the trustee for the period of 36      months. In the event the trustee does not collect the full 10%, any
portion not collected will be paid to creditors pro-rata under the plan:

         A.          $     981.49        for months       1     to    36 in order to pay the following creditors:

Administrative: Attorney’s Fee $ 4,800.00          TOTAL PAID $     1,500.00
                (Safe Harbor Fees: 3,500.00 plus Home Mortgage Loan Modification 525.00 and Motion to Value Real
                 Property 775.00 total = 4,800.00)
                Balance Due     $ 3,300.00         payable $ 183.34 /month (Months 1 to 18 )
Secured Creditors: [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
1.  American Home Mortgage Servicing                   Arrearage on Petition Date  $
Address: PO Box 631730                                 Arrears Payment       $                   /month (Months               to          )
          Irving, TX 75063                             Regular Payment       $ 700.00           /month* (Months           1   to    36        )
Account No:    0019266774

*Estimated payment under HAMP application

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING
YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT
TO BR 7004 and LR 3015-3.

  Secured Creditor                Description of Collateral and Value of Collateral              Intere      Plan         Months         Total Plan
                                                                                                   st      Payment           of          Payments
                                                                                                  Rate                    Payment
                                                                                                                                     $ 0.00
 Real Time               Unit 55, in Building 9, of South Point Cove, a Condominium,            0%         $       0.00   0
 Resolutions Inc.        according to the Plat thereof, as recorded in Official Records                                              Lien to be
                         Book 22775 at Page 3595, of the Public Records of Miami Dade                                                stripped in
 (Second                                                                                                                             full.
 Mortgage)               County, FL
                         a/k/a 12030 SW 268 St., #55, Homestead, FL 33032
                         $




Priority Creditors: [as defined in 11 U.S.C. §507]
1.                                    Total Due $
                                      Payable $                            /month (Months             to       )

Unsecured Creditors:          Pay $     183.34         /month (Months          1      to 36 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
Other Provisions Not Included Above:    Debtors are current and will pay direct outside the Plan the following secured
creditors: Chase auto loan #*3309 and Homes of Doral Landings Community Assoc. acct # 1200.

HAMP provisions:
The Debtor has filed an application under the Home Affordable Modification Program (“HAMP”) along with all the required documents
and HAMP Directive 10-02 with the secured creditor set forth above in paragraph 1 (the “Secured Creditor”) which holds the first

mortgage on the Debtor’s homestead property (the “Property”). The Secured Creditor shall timely comply with all requirements under
HAMP and promptly approve or deny Debtor’s HAMP application. The Debtor and Debtor’s counsel consent to direct communication
with the Secured Creditor for purposes of loss mitigation only.

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Until acceptance or denial of the HAMP application, any proof of claim filed by the Secured Creditor on the Property shall be held in
abeyance as to the regular payment and mortgage arrearage set forth in the proof of claim only. The Debtor shall assert any and all other
objections to the proof of claim. The Chapter 13 Trustee is directed to pay the trial payment plan (the “TPP”) provided in the Chapter 13
Plan (the “Plan”), and not the arrears or regular payment set forth in the proof of claim, until further order of the Court.

In the event the Secured Creditor aproves the Debtor’s HAMP application, the Debtor will file evidence of the approval and timely comply
with any and all requirements necessary to complete a permanent mortgage modification.

In the event the Debtor elects not to amend or modify the Plan to conform with the Secured Creditor’s offer letter or if the HAMP
application is denied, the Debtor shall amend or modify the Plan to conform to the Secured Creditor’s proof of claim or surrender the
Property no later than 30 calendar days following receipt of the Secured Creditor’s offer or rejection letter. If the Property is surrendered,
then for confirmation purposes, any secured proof of claim filed by Secured Creditor on the Property shall be deemed treated outside the
Plan.

Confirmation of the Plan shall be without prejudice to the assertion of any rights the Secured Creditor had or any objections the Debtor
could have asserted prior to the confirmation to address the regular payment or mortgage arrearage set forth in the proof of claim.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.
      s/ Liz Ramirez
Debtor                                                            Joint Debtor
Date:      05/29/12                                               Date:




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